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      ~AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
                Sheet I

                                                                                                                                          Ali q~ 59
                                              UNITED STATES DISTRICT COURTUrzOCl \1
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIM~AL ~\)f"li~"
                                        v.                                           (For Offenses Committed On lJ.It(~ember 1, 1987)

             CESAR MARIMBAS MORENO-GUZMAN (02),                                      Case Number: 12CR3301-MMA

                                                                                     Merle N. Schneidewind
                                                                                     Defendant's Attorney
     REGISTRATION NO. 36231298

     D
     THE DEFENDANT:
      181pleaded guilty to count(s) ONE AND TWO OF THE INFORMATION

      D     was found guilty on oount(s)'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such oount(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                         Nature of Offense                                                                              Number(s)
8:1324(a)(l)(A)(ii) and                Transportation of Illegal Aliens and Aiding and Abetting                                             1
(v)(II)
8: 1324(a)( 1)(A)(i) and              Bringing in Illegal Aliens and Aiding and Abetting                                                    2
(v)(I1)




         The defendant is sentenced as provided in pages 2 through               2          of this judgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  D Count(s)                                                                          is DareD dismissed on the motion ofthe United States.
  181 Assessment: $200.00 Total (Ct:l $100.00; Ct:2 $100.00) WANED

  181 Fine waived                                   D    Forfeiture pursuant to order filed                                    , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the




                                                                              HON. MICHAEL M. ANELLO
                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                                12CR3301-MMA
     Case 3:12-cr-03301-MMA                         Document 51         Filed 10/17/12        PageID.119        Page 2 of 2

AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 2 Imprisorunent
                                                                                              Judgment - Page _ _2_ of       2
DEFENDANT: CESAR MARIMBAS MORENO-GUZMAN (02),
CASE NUMBER: 12CR3301-MMA
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         COUNT 1: TIME SERVED AND COUNT 2: TIME SERVED TO RUN CONCURRENTLY.




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o   The court makes the following recommendations to the Bureau of Prisons:




    o The defendant is remanded to the custody of the United States Marshal.
    o    The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Da.m.    Dp.m.       on
               as notified by the United States Marshal.

    o    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        ---------------------------------------------------------------
          o as    notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN
 I have executed this judgntent as follows:

         Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis judgntent.



                                                                                            UNITED STATES MARSHAL


                                                                    By ________~~~~~~~~~~--------
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                    12CR3301-MMA
